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IN THE CIRCUI'I` COURT OF THE THIRTEENTH JUDICIAL CIRCU!T
OF 'I`HE S'I`ATE OF FLORIDA IN AND FOR HILLSBOROUGH COUNTV
CIVIL DIVISION
NEIL STARACE AND

GLORIA S’I`ARACE
Plaintiff`(s) Case: 12 "£ A" L{'l 111
vs. /D\\{ \',}(
AVERI'I'T EXPRESS INC., a Foreign
For Protit Corporation .
Defendant(s)
/
COMPLAINT
Plaintif`f`s, NEIL STARACE and GLORIA STARACE, husband and wife, by and through
the undersigned attomey, hereby sues the Defendant AVERIT'I` EXPRESS INC., a Foreign

corporation, and alleges as follows:

l. This is an action for damages that exceeds FiReen Thousand Dollars
(515,000.00).
2. At all times material hereto, Plaintif`fs Mr. Neil Starace and Mrs. Gloria Starace

have resided at 6705 Cromwell Garden Drive, Apollo Beach, Hillsborough County, Florida

33572.
3. At ali times material hereto, Det"endant AVERI'IT EXPRESS INC, (hereinaf’ter

referred to as “AVE.RI'I`T“), was a Foreign corporation, duly registered to do business in the
State of Florida and having offices at 66?.2 Esst Hillsborough Avenue, Tampa, Florida 33610.
4. Venue end jurisdiction is proper itt Hillsborough County, Florida because ail

parties and treating physicians reside or have offices in Hiilsborough Ceunty, Florida.

FAC'I`S GIVING R!SE TO CLAIM

5. Plain!ifi`s re~aiieges and incorporates by reference the aliegations contained in

paragraphs l through 4 and fiirther says:

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6. On October 6, 2010 on or about S:lSPM Gloria Starace was the restrained driver
of a vehicle heading southbound on Highway 1-95, at the mile marker #131 in the
Commonwealth of Virginia. Southbound traffic was heavy and moving slowly.

7. Mr. Neil Starace was a passenger in the vehicle driven by Gloria Starace.

8. An Averitt Express Inc. owned sami-tractor trailer vehicle driven by Mr. John
Andrew Dunn, Jr. failed to observe and keep a safe distance of the moving traffic ahead cf him
and collided into the back of the vehicle in which Mr. and Mrs. Staracc were riding.

9. Mr. Dunn failed to keep the necessary stopping distance and/or was distracted
when his vehicle collided into the rear end of the Starace`s vehicle.

lO. Virginia State Trooper J. Liston responded to the scenc.

ll. The crash caused over 56,000 worth of damages to the Starace’s vehicle

12. PlaintiffGloria Starace suffered severe injuries as a result of the crash.

l3. Plaintiff Neil Starace suffered severe injuries as a result of the crash.

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CLAIM AGAINST DEFENDANT Avnnm‘ ExPaEss INC.
rvtcAniovs_gABterY)

l4. Plaintiff re-alleges and incorporates by reference the allegations contained in
paragraphs l through 14 and further says:

15. Defendant AVER{TT EXPRESS fNC., through its agent, servant, and/or
employee acting in the course and scope of his employment was negiigent in being vicariously
liable for the certain negiigent acts of the Driver lone Andrcw Dunn Jr.

36. As a direct and proximate resuit of the negiigent, careiess and wrongful acts of the
Defendant, AVERI'I'!' EXPRESS iNC., through its agent, servant, and!or empinyeet Defendant

lone Andretv Dunn lr., wheat was acting in the course and scope of his employment, Piaintii`fs

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Neil and Gloria Starace suffered bodily injury and resulting pain and suffering, disability,
disfigurement, mental anguish, loss of capacity for the enjoyment of lifc, expense of
hospitalization medical and nursing care and treatment, loss of earnings loss of ability to earn
money, and aggravation of a previously existing condition The losses are either permanent or
continuing and plaintiff will suffer the losses in the future Plaintiff’s automobile was damaged
and they lost the usc of it during the period required for its repair or replacement

WHEREFORE, Plaintiff requests judgment against Defcndant AVERH'I` EXPRESS
lNC. for damages in an amount which exceeds the jurisdictional requirements of this Court, plus
interest and costs; and such further relief as the Court deems proper.

DEMAND FOR TR!AL BY JURY

'l`he Plaintiffs demand judgment for damages in excess of 315,000.00 exclusive of
interest and costs against the Defendants and further demands trial by ` on ali issues triable

as a matter of right by jury.

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